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 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
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11    SHADI R. J.,                                        Case No. 8:20-cv-02050-PD
12                           Plaintiff,                   JUDGMENT
13              v.
14    KILOLO KIJAKAZI,
15    Acting Commissioner of Social
      Security,
16
                             Defendant.
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18          It is the judgment of this Court that the decision of the
19   Administrative Law Judge is VACATED, and the matter is REMANDED to
20   the Social Security Administration on an open record for further
21   proceedings consistent with the Court’s Order.1
22   DATED: November 02, 2021
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                                                  HON. PATRICIA DONAHUE
24                                                UNITED STATES MAGISTRATE JUDGE
25
26          1 Plaintiff’s name has been partially redacted in accordance with Federal Rule of Civil
     Procedure 5.2(c)(2)(B) and the recommendation of the Committee on Court Administration and Case
27   Management of the Judicial Conference of the United States. Pursuant to Rule 25(d), Kilolo Kijakazi,
     the current Acting Commissioner, is hereby substituted in as the Defendant.
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